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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
                        Plaintiff,         )
                                           )
     v.                                    )     No.   04 CR 889-1
                                           )
NORMAN COLE,                               )
                                           )
                        Defendant.         )

                      MEMORANDUM OPINION AND ORDER

     Norman Cole (“Cole”) was indicted, pleaded guilty and is now

serving a 100-month sentence on a charge of having participated

in a conspiracy involving the knowing and intentional possession

with intent to distribute, and the actual distribution of, crack

cocaine.   Now Cole seeks relief from that sentence, invoking the

recent retroactive amendment to the Sentencing Guidelines that

lessened the wide gulf between crack and powder cocaine for

sentencing purposes.

     For its part the government concedes Cole’s entitlement to

relief but disputes the extent of the appropriate sentence

reduction, supporting its position with a 17-page Response.                 In

the interest of full disclosure in that respect, the Response has

included copies of opinions by two of this Court’s colleagues who

have reached opposite conclusions on the subject:              Judge Matthew

Kennelly’s April 28, 2008 opinion in United States v.

Witherspoon, 02 CR 491 (apparently unreported either in LEXIS or

in Westlaw) and, just a week ago, Judge Charles Kocoras’
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memorandum opinion in United States v. Shelby, 95 CR 69, 2008

U.S. Dist. LEXIS 50596 (N.D. Ill. June 30, 2008).

     Both of those opinions, and the post-Guideline-amendment

caselaw generally, recognize that the source of judicial power to

revisit crack cocaine sentences stems from 18 U.S.C.

§3582(c)(2):1

     The court may not modify a term of imprisonment once it
     has been imposed except that--

                           *           *          *

             (2) in the case of a defendant who has been
           sentenced to a term of imprisonment based on a
           sentencing range that has subsequently been
           lowered by the Sentencing Commission pursuant to
           28 U.S.C. 994(o), upon motion of the defendant or
           the Director of the Bureau of Prisons, or on its
           own motion, the court may reduce the term of
           imprisonment, after considering the factors set
           forth in section 3553(a) to the extent that they
           are applicable, if such a reduction is consistent
           with applicable policy statements issued by the
           Sentencing Commission.

Although this brief characterization of Judge Kennelly’s view

admittedly oversimplifies his analysis, he points in part to the

principle announced in United States v. Tidwell, 178 F.3d 946,

949 (7th Cir. 1999) that a proceeding under Section 3582(c)(2)

“is not a do-over of an original-sentencing proceeding.”                But for

Judge Kocoras that pre-Booker pronouncement does not control in

the present climate, created not only by Booker but also by



     1
          All further references to Title 18’s provisions will
simply take the form “Section--.”

                                       2
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Kimbrough v. United States, 128 S.Ct. 558 (2007) and Gall v.

United States, 128 S.Ct. 586 (2007).

     Cole’s situation does not require this Court to take sides

in that debate.     Although Booker held, for constitutional

reasons, that the Guidelines were not mandatory but only

advisory, Cole’s originally-agreed-upon sentence was expressly

limited by a specific reference to the correct Guideline

calculation--that was mandated by Paragraph 16 of his

September 8, 2005 Plea Agreement (“Agreement”), a paragraph that

specified Fed. R. Crim. P. (“Rule”) 11(c)(1)(C) as governing for

that purpose.    Because of Cole’s having provided full and

truthful cooperation to the government, Paragraph 16 specified an

agreed term of imprisonment of the higher of two figures--2/3 of

the low end of the “applicable sentencing guidelines range” or

2/3 of the statutory minimum sentence of 120 months.               By thus

tying the first of those alternatives directly to the Guideline

figures, the parties’ contract2 effectively made the Guideline a

mandatory component of Cole’s sentencing calculation.

     That being so, this Court--having initially accepted the

Agreement and sentenced Cole based on its terms--is limited to


     2
        By now it is conventional wisdom that a plea agreement is
a contract, to be construed and hence enforced as such (see,
e.g., such cases as United States v. Astley, 489 F.3d 813, 824-25
(7th Cir. 2007)).




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applying the provision of Paragraph 16 in terms of the new

retroactive Guideline figures (which now reduce the original

“applicable sentencing guidelines range” from 151-188 months to

121-151 months).     And that in turn reduces the first of the

Agreement’s alternatives to 2/3 of the lower end of the new

range, or 80 months.      Because that result follows as a matter of

law, no evidentiary hearing is required.

     One added wrinkle (or perhaps something of an anomaly)

should be noted.     This Court’s responsibility under Booker is to

set a sentence that is “sufficient, but not greater than

necessary, to comply with the purposes set forth in” Section

3553(a)(2).    Suppose that the no-do-over catchphrase in Tidwell

has not survived in the post-Booker period in light of Kimbrough

and Gall--what then?      Nothing that this Court knows of in the

caselaw would permit a belated revocation of its earlier

acceptance of the Agreement, including its Rule 11(c)(1)(C)

provision.

     It is perhaps hypothetically conceivable that an agreed-upon

sentence for dealing in crack cocaine that a court originally

found reasonable at an earlier date, resulting in acceptance of a

plea agreement, could be viewed as noncompliant with the Section

3553(a)(2) criteria today (even at a reduced sentence level).

But that potentially knotty question is for another day.                This

Court has no such difficulty with the reduction of Cole’s


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custodial sentence to 80 months.           It therefore orders that its

earlier judgment and commitment order be amended to that extent.



                              ________________________________________
                              Milton I. Shadur
                              Senior United States District Judge

Date:   July 7, 2008




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